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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


GAIL SCOTT,                                     )
                                                )
       Plaintiff,                               )
                                                )
       V.                                       ) Civil Action No. l:22-cv-373 (RDA/IDD)
                                                )
STEVE ACKERMAN, et al,                          )
                                                )
       Defendants.                              )

                           MEMORANDUM OPINION AND ORDER


       This matter comes before the Court on Defendants Ryan Coogler, Joe Robert Cole, Steve

Ackerman, and The Walt Disney Company’s (collectively, “Defendants”) Motion to Dismiss (Dkt.

17) and pro se Plaintiff Gail Scott’s Motion for Leave to Amend Complaint (Dkt. 32). This Court

has dispensed with oral argument as it would not aid in the decisional process. Fed. R. Civ. P.

78(b); Local Civil Rule 7(J). This matter has been briefed and is now irpe for disposition.

Considering the motions together with Defendants’ Memorandum in Support of its Motion to

Dismiss (Dkt. 18) and Defendants’ Opposition to Plaintiffs Motion to Amend (Dkt. 36),' this

Court GRANTS Defendants’ Motion to Dismiss and DENIES Plaintiffs Motion for Leave to


Amend Complaint for the reasons that follow.




       1
           Despite several opportunities to do so. Plaintiff has not filed an opposition to the Motion
to Dismiss. Dkts. 27; 38. Rather, Plaintiff has filed a document titled “Support to Facts.” Dkt.
35. Although that document does not directly correspond to either motion currently pending before
the Court, the Court has also considered Plaintiffs Support to Facts in deciding the pending
motions.
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                                         I.   BACKGROUND


                                     A. Factual Background^

       Plaintiff, a Maryland resident, alleges that Defendants, residents of California, infringed

on her copyright when they wrote, filmed, and distributed the Black Panther movie in 2018. Dkt.

9 at 4-5. On April 6,2018, Plaintiff saw the film at a theater in Brandywine, Maryland, and realized

that it “[was] Plaintiffs script up there.    Id. at 5. She states that she was denied royalties in a

letter from Defendant Steve Ackerman, counsel for Defendant The Walt Disney Company,

allegedly stating that “Black Panther is an original creation of the screenwriters based on their own

creativity and the Marvel comic book source material.        Id. Plaintiff claims, however, that her

manuscript is “the source work” and that Defendants have slighted her “since Plaintiff has received

no royalty check from Defendants.” Id. Plaintiff asserts that the damages amount to $673,500,000,

which she claims is half of the earnings from the Black Panther movie. Id.

                                    B.    Procedural Background

       Plaintiff filed her initial Complaint on April 5, 2022. Dkt. 1. On February 29, 2024, this

Court ordered Plaintiff to show cause why this action should not be dismissed pursuant to Fed. R.

Civ. P. 4(m) because she had failed to serve the Complaint within 90 days of its filing. Dkt. 4 at

1. On March 19, 2024, Plaintiff filed the operative Amended Complaint and served Defendants.

Dkt. 9. After receiving an extension of time to file a response to the Amended Complaint, Dkt.

16, Defendants filed the instant Motion to Dismiss on May 9, 2024, Dkt. 17.




       ^ For purposes of considering the instant Motion to Dismiss, the Court accepts all facts
contained within the Amended Complaint as true, as it must at the motion-to-dismiss stage.
Ashcroft V. Iqbal, 556 U.S. 662, 678 (2009); BellAtl. Corp. v. Twombly, 550 U.S. 544, 555 ^007).
Further, although the Amended Complaint is written entirely in uppercase letters, for clarity and
readability, the Court will follow standard capitalization conventions when quoting from the
Amended Complaint.

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        On May 15, 2024, Plaintiff filed a Motion to Continue Civil Action to allow her time to

secure an attorney. Dkts. 20 at 3; 22 at 3. On May 31, 2024, the Motion to Continue Civil Action

was   granted insofar as Plaintiffs time to respond to Defendants’ Motion to Dismiss was extended

to June 21, 2024, but denied in all other respects. Dkt 27.        Plaintiff filed another Motion to

Continue Civil Action on June 11, 2024, that was denied the next day. Dkts. 29; 30.

         On June 18, 2024, Plaintiff filed her first document titled “Support to Facts.” Dkt. 31. That

document contained no allegations. Id. On August 2, 2024, Plaintiff filed a Motion for Leave of

Court to Amend Complaint. Dkt. 32. On August 12, 2024, Plaintiff filed her second document

titled “Support to Facts,” which contains additional allegations and discussion.             Dkt.   35.


Defendants filed an Opposition to the Motion for Leave on August 19, 2024. Dkt. 36.

         On November 20, 2024, this Court issued a notice in accordance with Roseboro v.

Garrison, 528 F.2d 309 (4th Cir. 1975), notifying Plaintiff that Defendants filed the instant Motion

to Dismiss and giving Plaintiff an additional twenty-one days to file a response opposing the

Motion. Dkt. 38. That deadline has now passed, and, to date, Plaintiff has not filed a response

brief


                                   II.   STANDARD OF REVIEW


         Federal Rule of Civil Procedure 12(b)(2) provides that a court may dismiss a case for lack

of personal jurisdiction. Fed. R. Civ. P. 12(b)(2). When resolving a Rule 12(b)(2) motion, a court

undertakes a two-step analysis. First, a court looks to whether personal jurisdiction is authorized

by state law. Mitrano v. Hawes, 377 F.3d 402, 406 (4th Cir. 2004). Second, a court determines

whether the exercise of personal jurisdiction comports with the constitutional requirements of due

process. Id.    Virginia’s long-arm statute extends personal jurisdiction to the constitutionally

permissible limits of the Due Process Clause of the Fourteenth Amendment. ePlus Tech., Inc. v.

Aboiid, 313 F.3d 166, 176 (4th Cir. 2002). Accordingly, “the statutory inquiry merges with the
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constitutional inquiry.   Consulting Eng'rs Corp. v. Geometric Ltd, 561 F.3d 273, 277 (4th Cir.

2009).

         As to each defendant, a court must find sufficient '‘minimum contacts [with the

state] ... such that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); see also Walden v.

Fiore, 571 U.S. 277, 286 (2014) (“The requirements of International Shoe, however, must be met

as   to each defendant over whom a state court exercises jurisdiction.”). That inquiry involves

exploring whether general or specific personal jurisdiction exists over any non-resident defendant.

See Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-16 (1984).

         When determining whether there is personal jurisdiction over a case, a district court “must

accept as true the uncontroverted factual allegations in the plaintiffs complaint.” Mattiaccio v.

Cantu Apiaries of Fla., LLC, No. 1:21-CV-00421, 2022 WL 1597826, at *3 (E.D. Va. May 19

2022) (quoting Companion Prop. & Cas. Ins. Co. v. Palermo, 723 F.3d 557, 559 (5th Cir. 2013)).

When a court does not conduct an evidentiary hearing on personal jurisdiction, a case may be

dismissed for lack of personal jurisdiction if the plaintiff has failed to make a prima facie showing.

Grayson v. Anderson, 816 F.3d 262, 268 (4th Cir. 2016). If a prima facie showing is made, the

defendant must “present a compelling case that the presence of some other considerations would

render jurisdiction [so] unreasonable,”               Corp. v. Rudzewicz, 471 U.S. 462,477 (1985),

as to “offend traditional notions of fair play and substantial justice,” Int'l Shoe, 326 U.S. at 316.

In evaluating the parties' requisite burdens, a court may rely on “motion papers, supporting legal

memoranda, [ ] the allegations in the complaint,” Con.sulting Eng'rs, 561 F.3d at 276, and “the

contents of affidavits and any other relevant matter submitted by the parties to assist it in

determining the jurisdictional facts,” 5B Alan Wright & Arthur Miller, Fed. P. & Proc. § 1351, at

305 (3d ed. 2004). See also In re Polyester Staple Antitrust Litig., No. MDL 3:3-CV-1516, 2008
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WL 906331, at *7 (W.D.N.C. Apr. 1, 2008) (explaining that, in determining whether a plaintiff

has made a prima facie showing, “the court ‘may receive and weigh affidavits and any other

relevant matter to assist it in determining the jurisdictional facts”' (quoting Reese Bros. v. U.S.

Postal Serv., All F. Supp. 2d 31, 36-37 (D.D.C. 2007))).

                                         III.   ANALYSIS


         Defendants move this Court to dismiss the instant action for (1) lack of personal


jurisdiction and (2) failure to state a claim in the Amended Complaint. Because the Court finds

that it lacks personal jurisdiction over the Defendants, the Court need not address the merits of the

Motion to Dismiss or the Motion to Amend.


         The Court first considers whether Plaintiff has made a prima facie showing of personal


jurisdiction over Defendants. Courts have categorized personal jurisdiction in two ways: specific

and general. A court may exercise general jurisdiction over a non-resident defendant for non¬

forum related activities when that defendant’s operations in the state are “so substantial” and so

“‘continuous and systemic’ as to render [it] essentially at home in the forum state.” Daimler AG

V.   Bauman,Sl\ U.S. 117, 139(2014) (quoting 7/7/7         326              Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). General jurisdiction for individuals is

generally limited to those states where the individual is domiciled, while general jurisdiction over

corporations is limited to “an equivalent place,” such as the corporation’s place of incorporation

or   principal place of business. Daimler AG, 571 U.S. at 136 (quoting Goodyear, 564 U.S. at 919).

         Meanwhile, specific jurisdiction permits a court to exercise personal jurisdiction over a

non-resident defendant where the litigation arises out of or relates to the nonresident defendant's

contacts with the forum. Heathmount A.E. Corp. v. Technodome.com , 106 F. Supp. 2d 860, 865

(E.D. Va. 2000). To satisfy due process in the exercise of specific jurisdiction, a court must find

 that the defendant purposefully directed his activities at residents of the forum thereby availing
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himself of the privilege of conducting activities therein and invoking the benefits and protections

of the forum’s laws.    Id. (citing Burger King Corp., 471 U.S. at 472).      As a corollary to this

'purposeful availment’ requirement, courts” also “consider whether the . . . nonresident defendant

could reasonably have” foreseen “being haled into court in the forum state.        Id. (citing Burger

King Corp., 471 U.S. at 474).

       The Court considers each category of personal jurisdiction in turn.

                                      A. General Jurisdiction


       Defendants assert that this Court lacks general jurisdiction because Plaintiffs Amended

Complaint fails to establish that any Defendant is “at home” in Virginia. This Court agrees.

       “For an individual, the paradigm forum for the exercise of general jurisdiction is the

individual’s domicile; for a corporation, it is an equivalent place, one in which the corporation is

fairly regarded as at home,” Goodyear, 564 U.S. at 924, such as the corporation’s place of

incorporation and the principal place of business, Medmarc Cas. Ins. Co. v. GD Grp. USA Co.,

669 F. Supp. 3d 555, at 562 (E.D. Va. 2023).

       Here, Plaintiff fails to allege that any of the individual Defendants are domiciled in Virginia

or that the Walt Disney Company is incorporated or has its principal place of business in Virginia.

Instead, the Amended Complaint lists Defendants Coogler, Cole, Ackerman, and The Walt Disney

Company^ as residents of California. Dkt. 9 at 2. Plaintiff alleges no other jurisdictional facts.

This Court therefore lacks general jurisdiction over Defendants because the Amended Complaint

fails to establish that any of the Defendants have continuous and systematic contacts with Virginia

so as to be considered “at home” in this forum.




       ^ The Walt Disney Company is a Delaware corporation with its principal place of business
in Burbank, California. Dkt. 18-1 ^ 2 (Declaration of Patrick J. Curran, .Tr,).
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                                        B. Specific Jurisdiction

        Defendants also argue that Plaintiff cannot establish specific jurisdiction “because her

claims do not arise out of any activity by any Defendant that takes place in or otherwise targets

Virginia.” Dkt. 18 at 10. This Court again agrees.

        The exercise of specific jurisdiction requires that the litigation arises out of or relates to the

nonresident defendant’s contacts with the forum.        Healhmount, 106 F. Supp. 2d at 865.         Here,

Plaintiff does not allege that any activity by any Defendant takes place in or otherwise targets

Virginia. In fact, Virginia is not mentioned in the Amended Complaint at all. Instead, Plaintiff

merely alleges: (i) that she saw the Black Panther film in a theater in Brandywine, Maryland;

(ii) that she is a resident of Maryland; and (iii) that Defendants are residents of California and have

denied her royalties.    Dkt. 9 at 1-5.     None of these facts demonstrate that Defendants have

purposefully availed themselves of this forum so as to reasonably foresee being haled into court in

Virginia. This Court therefore cannot exercise specific personal jurisdiction over Defendants. See

Levi V. Twentieth Century Fox Film Corp.^'Ho. 3:16CV129, 2017 WL 1227933, at *4-7 (E.D. Va.

Mar. 30, 2017) (dismissing copyright infringement complaint because the plaintiff did not allege

any facts showing that the defendants had availed themselves of conducting any activities in

Virginia).



        In sum, the Amended Complaint must be dismissed because this Court cannot exercise

general or personal jurisdiction over Defendants.'^ The dismissal will be without prejudice,


        ^ Defendants also seek dismissal of the Amended Complaint for failure to state a claim
under Federal Rule of Civil Procedure 12(b)(6). Flowever, because this Court concludes that it
lacks personal jurisdiction over Defendants, this Court will not address the request to dismiss the
Amended Complaint for failure to state a claim. Levi, 2017 WL 1227933, at *7 (“Without
jurisdiction to hale them into court in Virginia, the Court cannot evaluate the issues . . . raised in
the [defendants’] Motion to Dismiss for Failure to State a Claim.”).
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however, to permit Plaintiff to file in a proper forum. Plaintiff's Motion for Leave of Court to

Amend, Dkt. 32, will be denied as moot because, upon review of the motion, none of the issues

addressed therein would cure the lack of personal jurisdiction and amendment would be futile. 5

                                        IV. CONCLUSION

        For the foregoing reasons, it is hereby ORDERED that Defendant's Motion to Dismiss

(Dkt. 17) is GRANTED and the Amended Complaint (Dkt. 9) is DISMISSED WITHOUT

PREJUDICE; and it is

        FURTHER ORDERED that Plaintiff's Motion to Amend (0kt. 32) is DENIED as moot.

        To appeal this decision, Plaintiff must :file a written notice of appeal with the Clerk of Court

within 30 days of the date of entry of this Memorandum Opinion and Order. A notice of appeal is

a sho1t statement indicating a desire to appeal, including the date of the order Plaintiff wants to

appeal. Plaintiff need not explain the grounds for appeal until so directed by the court of appeals.

Failure to file a timely notice of appeal waives Plaintiff's right to appeal this decision.

        The Clerk is directed to forward copies of this Memorandum Opinion and Order to

Plaintiff, who is proceeding pro se, and to counsel of record for Defendant. The Clerk is further

directed to close this civil action.

        It is SO ORDERED.

Alexandria, Virginia
December 12 , 2024

                                                    Ro�sie D. Alston,
                                                    United States Dis Ir.
                                                                     trict Judge




        5
        Similarly, a review of Plaintiff's "Support to Facts" reveals no additional allegations that
would cure the lack of personal jurisdiction here. Dkt. 35.
